Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 1 of 10 PageID 1075




                                  Page 1 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 2 of 10 PageID 1076




                                  Page 2 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 3 of 10 PageID 1077




                                  Page 3 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 4 of 10 PageID 1078




                                  Page 4 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 5 of 10 PageID 1079




                                  Page 5 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 6 of 10 PageID 1080




                                  Page 6 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 7 of 10 PageID 1081




                                  Page 7 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 8 of 10 PageID 1082




                                  Page 8 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 9 of 10 PageID 1083




                                  Page 9 of 10
Case 6:22-cv-00652-PGB-DCI Document 113 Filed 09/07/22 Page 10 of 10 PageID 1084




                                  Page 10 of 10
